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               ORIGINAL
                      IN THE UNITED STATES DISTRICT COURT

                      FOR THE NORTHERN DISTRICT OF GEORGIA

                                     ATLANTA DIVISION


UNITED STATES OF AMERICA
                                                    CRIMINAL INDICTMENT
                v.
DONALD THOMAS
                                                    NO.
                                                            1: 13-- CR-241
THE GRAND JURy CHARGES THAT:

                         COUNTS ONE THROUGH SIX
                            18 U.S.C. § 666
          (Theft From an Organization Receiving Federal Funds)


     1.        Beginning in or about January 2008 and continuing through

in or about June 2011,           in the Northern District of Georgia and

elsewhere, the Defendant, DONALD THOMAS ("THOMAS"), while employed

as Assistant Controller for Grady Memorial Hospital Corporation,

did embezzle, steal, obtain by fraud,              intentionally misapply and

knowingly convert to the use of a person other than the rightful

owner money,         funds,   and property of Grady     I   an organization that

received benefits in excess of $10,000 under one or more Federal

programs involving grants, contracts, subsidies, loans, guarantees,

insurance and other forms of Federal assistance during the one-year

periods described herein         l    which property was valued at $5,000 or

more, and was owned bYI and was under the carel custody and control

of Grady   I   as more fully described below.
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                                                    BACKGROUND

At all times relevant to this indictment:­

     2.         Grady Health System was one of the largest public health

systems in the United States and offered a wide range of medical

services   1    including those of Grady Memorial Hospital                                       1   the largest

hospital in the state of Georgia.                                       The majority of Grady Health

System's       revenue       was        generated                  through Medicare              and Medicaid

reimbursement.

     3.         In January 2008                 1    a        coalition of              state and community

leaders        created        the           Grady              Memorial              Hospital        Corporation

(hereinafter        "Grady")        1       a       nonprofit                corporation         charged      with

administering the hospital.                          Grady is located at 80 Jesse Hill Jr.

Drive Southeast      1       Atlanta        l       Georgia        1    in the Northern District of

Georgia.

     4.         THOMAS was employed in Grady I s                                     finance department as

Assistant Controller from December 1994 through June 2011 1 when his

employment was terminated due to a reduction in force.

     S.         As Assistant Controller                        1   THOMAS oversaw the operations of

Grady's        payroll       department                  and           had       full   access       to    Grady's

electronic payroll systems.                              THOMAS was also authorized to issue

paper payroll checks to Grady employees.

     6.         Wachovia Bank           1       N.A.      1       was    acquired        by Wells          Fargo   &

Company in 2008          1   and all                of Wachovia s            l
                                                                                     deposit    accounts      were

transferred       to Wells              Fargo            Bank,          N.A.     1   following       the   merger.


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Wachovia Bank and its successor, Wells Fargo Bank, are collectively

referred to herein as "Wells Fargo."

     7.        Grady's payroll accounts were held at Wells Fargo.

     8.        From at least on or about January 10,                 2008, through at

least on or about February 3, 2011, Automated Clearinghouse ("ACH")

direct deposits from Grady/s payroll accounts to Wells Fargo bank

accounts of Grady employees were routed through Wells Fargo/s ACH

transmission facilities either in Philadelphia ,                     Pennsylvania or

Jacksonville     I   Florida.   The transactions were then routed to Wells

Fargo s mainframe computer system in Winston-Salemi North Carolina.
     I




Wells Fargo did not maintain any ACH processing facilities in the

state of Georgia.

                            THE EMBEZZLEMENT SCHEME

     9.        Every two weeks   I       Grady s human resources department would
                                              I




send a list of terminated employees to THOMAS.               Eligible terminated

employees would receive a final payment reflecting the balance of

any paid time off ("PTO")            I   such as vacation days   I    not used by the

employee   I   up to 320 hours.          Based upon the list , THOMAS queried the

payroll system to identify which terminated employees were and were

not eligible for PTO.




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      10.       SimilarlYI Grady/s human resources department regularly

notified THOMAS about terminated Grady employees who were eligible

for   severance         payor       other        compensation.                  The        notifications

indicated when severance payor other compensation payments would

cease.

      11.       THOMAS was also able to access details about compensation

due to terminated employees on Grady/s electronic payroll system.

      12.       Beginning      in    or     about               January       2008 1       on    multiple

occasions   1    THOMAS logged onto Grady's payroll system and added PT0                                       1




severance payor other compensation to the records of                                                  certain

terminated        Grady      employees      who        were        not        eligible          for     these

additional payments and thus would not be expecting them.

      13.       On multiple occasions             1   where certain terminated Grady

employees        were     eligible         for        PT0   1     severance            payor           other

compensation      1   THOMAS increased the amount of compensation due or

extended        the   time    period       during           which     Grady       would          pay        such

compensation to the employees.                        As a result         1    additional pay was

scheduled to be paid out to these terminated Grady employees                                            1   and

the employees would not be expecting the additional payments.

      14.       In many instances      1   within days - and sometimes minutes

of altering the terminated Grady employees'                                   payroll records to

ensure that additional compensation would be paid                                      l    THOMAS also

changed the employees          1    existing bank account information in the

Grady payroll           system.      The     existing              bank       account        information


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indicated the accounts where the terminated Grady employees had

chosen to have their pay direct-deposited.             THOMAS deleted the

employees'        bank   account   information   and   replaced   it     with

information for the following bank accounts under the control of

THOMAS and his wife ("M. D. tI) :

             a.     Wells Fargo Account Number XXXXXXXXX3791,          in the

                    name of Blue Fin Enterprise LLC       (\\Blue Fin"),    a

                    limited liability company created by THOMAS and

                    M.D. on or about November 22, 2007; and

             b.     Wells Fargo Account Number XXXXXXXX0784,       in the

                    name of Blue Fin.

     15.     THOMAS and M.D. were both authorized signers on Wells

Fargo Account Nos.        XXXXXXXXX3791 and XXXXXXXX0784    (collectively

referred to hereinafter as \\the Blue Fin Accounts").

     16.     In some instances, THOMAS altered the terminated Grady

employees'    payroll records to indicate that the falsified PTO,

severance payor other compensation due was "tax-exempt II in order

to prevent federal and state taxes from being withheld on the

falsified PTO, severance payor other compensation.

     17.     THOMAS sometimes altered the terminated Grady employees'

payroll records to indicate that health insurance premiums and

other deductions should not be withheld from the falsified PTO,

severance payor other compensation.




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     18.      In some    cases,   THOMAS     altered     the   terminated Grady

employees' payroll records in order to ensure that the employee

would not receive an electronic payroll                (II e-payroll")    statement

indicating that he or she had been paid additional PTO, severance

pay, or other compensation from Grady.

     19.     On a bi-weekly basis, THOMAS was required to approve the

final payroll for all Grady employees.              THOMAS was responsible for

encrypting    the    final    electronic     text    file   containing      Grady's

payroll information for each pay period (the IIpayroll file")                   and

sending it to Wells Fargo via a File Transfer Protocol                      ("FTpn)

application, ensuring that all Grady employees were paid.                    THOMAS

transmitted the payroll files to Wells Fargo from a                      standalone

computer in his office that was used solely for that purpose.

     20.     The    payroll   files   that    THOMAS    sent   to   Wells     Fargo

reflected the changes that THOMAS had made to the terminated Grady

employees I payroll records, including falsified PTO, severance pay               I




and other compensation for which the terminated Grady employees

were not eligible.        The payroll files sent to Wells Fargo also

included the new bank account numbers input by THOMAS either by

changing the bank account numbers in Grady's payroll system or by

changing the bank account numbers directly in the payroll files.

Both of THOMAS's methods for changing the bank account numbers

ensured that the falsified pay that he had created was deposited

into the Blue Fin Accounts controlled by THOMAS and M.D.


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     21.     The changes that THOMAS made to the terminated Grady

employees'    payroll   records    and to      the       payroll   files    were   not

authorized or approved by Grady, as THOMAS well knew.                       Likewise,

the terminated Grady employees did not at any time know about or

consent to the changes that THOMAS made to their payroll records or

to the payroll files, as THOMAS well knew.

     22.     From in or about January 2008 through in or about June

2011, THOMAS embezzled over $450,000 from Grady by altering Grady

payroll records and the payroll files.               THOMAS used the embezzled

funds for his own companies and to pay his and his wife's personal

expenses.

     23.     In many instances, after the terminated Grady employees'

falsified compensation had been finalized in the payroll files or

had been deposited into the Blue Fin Accounts controlled by THOMAS

and M.D., THOMAS logged onto Grady's payroll system and reversed

the changes that he had made to the terminated Grady employees'

records, in order to conceal his embezzlement.

     24.     In or   about   February       2012,    a    former   Grady     employee

contacted Grady to express concern that her federal W-2 Wage and

Tax Statement    ("W-2 form"),     which detailed her earnings for the

2011 tax year f was not accurate.       The employee's W-2 form reflected

a higher amount of " wages , tips or other compensation ll from Grady

than the employee had actually earned or received.                       When Grady

investigated    further,     it   was   discovered         that    the     employee's


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additional pay had been fabricated by THOMAS and deposited into one

of the Blue Fin Accounts.               This initial inquiry led to Grady's

discovery of THOMAS's extensive embezzlement scheme. Because THOMAS

was not consistent about changing the tax reporting requirements

for the fabricated pay,              at least twenty former Grady employees

received inaccurate W-2 forms as a result of the scheme.

                       EXECUTION OF THE EMBEZZLEMENT SCHEME

                        COUNTS ONE THROUGH THREE
                            18 U.S.C. § 666
          (Theft From an Organization Receiving Federal Funds)

        25 . . The Grand Jury re-alleges and incorporates by reference

Paragraphs 2 through 24, as if fully set forth herein.

        26.     On or about the dates set forth below in Column B, in the

Northern District of Georgia and elsewhere, the Defendant, DONALD

THOMAS,       who was employed as Assistant Controller of Grady,              an

organization receiving in the one-year period beginning August 1,

2008,    benefits in excess of $10,000 under one or more Federal

programs involving grants, contracts, subsidies, loans, guarantees,

insurance and other forms of Federal assistance,                 did embezzle,

steal,        obtain   by   fraud,    intentionally   misapply   and   knowingly

convert to the use of a person other than the rightful owner money,

funds, and property worth at least $5,000 and under the custody and

control of Grady, to wit: by falsifying Grady payroll records for

the former Grady employees listed in Column C, THOMAS caused the

deposit of Grady payroll funds in the amounts set forth in Column


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D into the Blue Fin Accounts identified in Column E:

         A                  B               C              D                E        r

     COUNT              DATE             EMPLOYEE        AMOUNT      ACCOUNT NO.
         1             9/18/08            S.K.        $10,705.83     XXXXXXXXX3791
         2             4/2/09             D.P.        $5,624.67      XXXXXXXXX3791
         3             6/11/09            J.M.        $5,538.05      XXXXXXXXX3791

        All in violation of Title 18,                United States Code,    Section

66t;i (a) (1) (A) .


                             COUNTS FOUR AND FIVE
                               18 U.S.C. § 666
             (Theft From an Organization Receiving Federal Funds)

        27.     The Grand Jury re-alleges and incorporates by reference

Paragraphs 2 through 24, as if fully set forth herein.

        28.     On or about the dates set forth below in Column B, in the

Northern District of Georgia and elsewhere, the Defendant, DONALD

THOMAS,       who was    employed as Assistant Controller of Grady,                an

organization receiving in the one-year period beginning August I,

2009,    benefits       in excess of        $10,000 under one or more Federal

programs involving grants, contracts, subsidies, loans, guarantees,

insurance and other forms of Federal assistance,                     did embezzle,

steal,        obtain   by       fraud,   intentionally    misapply   and   knowingly

convert to the use of a person other than the rightful owner money,

funds, and property worth at least $5,000 and under the custody and

control of Grady, to wit: by falsifying Grady payroll records for

the former Grady employees listed in Column C, THOMAS caused the


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deposit of Grady payroll funds in the amounts set forth in Column

D into the Blue Fin Accounts identified in Column E:

         A                  B           C              D                E
     COUNT              DATE         EMPLOYEE        AMOUNT       ACCOUNT NO.
         4              2/4/10        J.T.        $5,614.51      XXXXXXXXX3791
         5             5/27/10        M.W.        $5,625.97      XXXXXXXXX0784

     . All in violation of Title 18,             United States Code,     Section

666 (a) (1) (A).


                               COUNT SIX
                            18 U.S.C. § 666
          (Theft From an Organization Receiving Federal Funds)

        29.     The Grand Jury re-alleges and incorporates by reference

Paragraphs 2 through 24, as if fully set forth herein.

        30.     On or about the date set forth below in Column B, in the

Northern District of Georgia and elsewhere, the Defendant, DONALD

THOMAS,       who was    employed as Assistant Controller of Grady,             an

organization receiving in the one-year period beginning August 1,

2010,    benefits       in excess of $10,000 under one or more Federal

programs involving grants, contracts, subsidies, loans, guarantees,

insurance and other forms of             Federal assistance,     did embezzle,

steal,        obtain   by   fraud,   intentionally    misapply   and   knowingly

convert to the use of a person other than the rightful owner money,

funds, and property worth at least $5,000 and under the custody and

control of Grady, to wit: by falsifying Grady payroll records for

the former Grady employee listed in Column C,                 THOMAS caused the

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deposit of Grady payroll funds in the amount set forth in Column D

into the Blue Fin Account identified in Column E:

       A              B             C             D                E
     COUNT          DATE        EMPLOYEE        AMOUNT      ACCOUNT NO.
        6           2/3/11        V.J.        $6,689.79    XXXXXXXXX3791

      All in violation of Title 18,          United States Code,   Section

666 (a) (1) (A) •



                       COUNTS SEVEN THROUGH TWELVE
                             18 U.S.C. § 1343
                                (Wire Fraud)

      31.    The Grand Jury re-alleges and incorporates by reference

Paragraphs 2 through 24, as if fully set forth herein.

      32.    From in or about January 2008 through in or about June

2011, in the Northern District and elsewhere, the defendant, DONALD

THOMAS, did knowingly and willfully devise and intend to devise a

scheme and artifice to defraud Grady,           and to obtain money and

property, by means of materially false and fraudulent pretenses and

representations, as more fully described below.

                             SCHEME TO DEFRAUD

It was part of the scheme that:

      33.    On multiple occasions, THOMAS altered the payroll records

of certain terminated Grady employees in order to indicate that

such employees were eligible for additional PTO, severance pay and

other compensation.       THOMAS well knew that these employees were not·


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eligible      for    the    falsified      PTO,    severance       pay,    or   other

compensation, and THOMAS well knew that Grady had not authorized or

approved these changes to the payroll records.

        34.   After falsifying the amount of PTO,              severance pay,       or

other compensation due,         THOMAS replaced the direct deposit bank

account information for these employees with the account numbers of

the Blue Fin Accounts.              As described above,        THOMAS made these

changes either in the Grady payroll system,                  or directly in the

payroll file that was sent to Wells Fargo.               Neither Grady nor the

terminated employees authorized THOMAS to change their bank account

information for this purpose.

        35.   THOMAS's changes to Grady's payroll system and to the

payroll file ensured that the falsified PTO,                   severance pay,       or

other     compensation       that     he    had    created     would      result    in

corresponding payments being deposited into the Blue Fin Accounts

controlled by THOMAS and M.D.

        36.   In    many   instances,      after   THOMAS    had    completed      the

aforesaid steps necessary to obtain Grady payroll funds under false

pretenses,     THOMAS reversed the changes that he had made to the

terminated Grady employees' payroll records, in order to conceal

his fraud.




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                    EXECUTION OF THE SCHEME TO DEFRAUD

        37.    On or about the dates set forth below in Column B, in the

Northern District of Georgia and elsewhere, the defendant, DONALD

THOMAS, for the purpose of executing and attempting to execute the

aforesaid scheme and artifice to defraud, and to obtain money and

property       by   means        of       false     and       fraudulent        pretenses     and

representations,          did      cause      to       be    transmitted        in   interstate

commerce,      by means       of      a   wire     communicat ion,        certain wr i tings ,

signs t signals and sounds, that is, Automated Clearinghouse ("ACH")

direct       deposits    of     Grady      payroll          funds   for   the    former     Grady

employees listed in Column C, in the amounts set forth in Column D,

from Grady's payroll accounts at Wells Fargo into the Blue .Fin

Accounts identified in Column E:

         A                B                   C                     D                  E
    COUNT               DATE              EMPLOYEE              AMOUNT           ACCOUNT NO.
         7          9/18/08                 S.K.              $10,705.83        XXXXXXXXX3791
         8              4/2/09              D.P.              $5,624.67         XXXXXXXXX3791
         9          6/11/09                 J.M.              $5,538.05         XXXXXXXXX3 7 91.
        10              2/4/10              J.T.              $5,614.51         XXXXXXXXX3791
        11          5/27/10                 M.W.              $5,625.97         XXXXXXXXX0784
        12              2/3/11              V.J.              $6,689.79         XXXXXXXXX3791

        All in violation of Title 18,                       United States Code,         Section

1343.




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                         COUNTS THIRTEEN AND FOURTEEN
                               18 U.S.C. § 1344
                                 (Bank Fraud)

     38.     The Grand Jury re-alleges and incorporates by reference

Paragraphs 2 through 24 t and Paragraphs 33 through 36, as if fully

set forth herein.

     39.     On or about the dates set forth below in Column B t in the

Northern District of Georgia and elsewhere t the Defendant, DONALD

THOMAS t did devise and knowingly execute and attempt to execute a

scheme     and    artifice        to   defraud         Wells       Fargo t   a    financial

institution t the deposits of which were then insured by the Federal

Deposit Insurance Corporation t and to obtain the moneyst funds and

property owned by and under the custody and control of Wells Fargo

by means of materially false and fraudulent pretenses t to wit: (1)

THOMAS   altered payroll           records       of    the    former    Grady     employees

identified in Column C to indicate falsely that the employees were

eligible for additional PTO;            (2) THOMAS caused paper checks to be

issued from Grady to said employees for the falsified PTO, in the

amounts set forth         in Column     Di       (3)   THOMAS deposited the paper

checks issued to the former Grady employees into the Blue Fin

Accounts at Wells Fargo identified in Column E; and                              (4)    before

depositing       the   checks t    THOMAS    forged          the    signatures         of   said

employees on the backs of the checks in order to endorse them t

without the former Grady employees t knowledge or consent.




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         A                  B                  C                  D                          E
     COUNT              DATE          EMPLOYEE               AMOUNT              ACCOUNT NO.
        13            12/31/09             S.N.             $3,170.89            XXXXXXXXX3791
        14             1/8/10              J.N.             $4,098.39            XXXXXXXXX3791

        All in violation of Title 18,                    United States Code,                 Section

1344.

                                  FORFEITURE PROVISION

        40.    Upon conviction of one or more of the offenses alleged in

Counts One through Fourteen of this Indictment, defendant DONALD

THOMAS shall forfeit to the United States pursuant to 18 U.S.C.                                         §

981(a) (1) (C) and 28 U.S.C.          §   2461(c), any property constituting or

derived from proceeds obtained directly or indirectly as a result

of   the      said    violation(s),        including        but       not   limited              to   the

following:

               a.     A money judgment.

        41.    Upon    conviction         of       the   offenses      alleged          in       Counts

Thirteen and Fourteen of this Indictment, defendant DONALD THOMAS

shall      forfeit     to   the    United          States   pursuant        to    18     U.S.C.         §

982 (a) (2),     any property constituting or derived                            from    proceeds

obtained directly or indirectly as a result of the said violations,

including, but not limited to:

               a.     A money judgment.




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     42.   If any of the above-described forfeitable property, as a

result of any act or omission of the defendant:

     (a)   cannot be located upon the exercise of due diligence;

     (b)   has been transferred or sold to,       or deposited with,     a

third party;

     (c)   has been placed beyond the jurisdiction of the court;

     (d)   has been substantially diminished in value; or

     (e)   has been commingled with other property which cannot be

divided without difficulty;




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 it is the intent of the United States,             pursuant to 21 U.S.C.          §

 853(p) as incorporated by 18 U.S.C.        §   982(b), to seek forfeiture of

 any other property of      said defendant         up   to   the   value    of   the

 forfeitable property described above.

      All pursuant to 18 U.S.C.    §    981(a) (1) (C), 18 U.S.C.     §    982, and

 28 U.S.C. § 2461(c).




 SALLY QUILLIAN YATES
    TED STATES AT ORNEY




 ASSISTANT UNITED STATES ATT       EY
~gia Bar No. 159277



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